                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION
                             Civil Action No.: 5:17-cv- 00511-FL

                                                 )
EPIC GAMES, INC. and EPIC GAMES                  )
INTERNATIONAL S.à.r.l.,                          )
                                                 )
               Plaintiffs,                       )
                                                 )    MEMORANDUM OF LAW IN SUPPORT
v.                                               )   OF MOTION FOR DEFAULT JUDGMENT
                                                 )
B.B.,                                            )
                                                 )
               Defendant.                        )
                                                 )


        The Court should grant the Motion for Default Judgment filed by Plaintiffs, Epic Games,

Inc. and Epic Games International S.à.r.l. (collectively, “Plaintiffs” or “Epic”) against Defendant

B.B. (“B.B.” or “Defendant”) because the Clerk of Court entered default against B.B. after he

failed to file a responsive pleading to the Complaint, and Epic has otherwise complied with all of

the requirements of Rule 55(b). Accordingly, Epic submits this Memorandum of Law and the

accompanying Declaration of Christopher M. Thomas and respectfully requests that the Court

grant Epic’s Motion for Default Judgment against Defendant for the reasons provided below.

I.      STATEMENT OF FACTS

        A.     Background on Epic and Fortnite

        Epic, founded in 1991, is a Cary, North Carolina-based developer and publisher of

computer games, and computer game engine and content creation software. (D.E. 1 at ¶ 13.)

Epic first released its co-op survival and building action game, Fortnite®1, on a limited basis in



1
  Fortnite is a registered trademark of Epic and is shown with the federal registration symbol the
first time the trademark appears herein and without it thereafter.


                                        1
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 1 of 23
October 2013. (Id. at 14-17.) Fortnite was released more widely in July 2017 and its free-to-

play “Battle Royale” game mode was released in September 2017. (Id. at ¶ 17.) Fortnite’s

popularity has grown steadily ever since and has become Epic’s most popular game yet. (See id.

at ¶¶ 18-19; see also Second Decl. of Thomas at ¶ 3.) In designing Fortnite, Epic made a

conscious choice not to sell items to players that would give any player a competitive advantage

to ensure a fair playing field for all players. (D.E. 1 at ¶ 20; Second Decl. of Thomas at ¶¶ 4-5.)

       Epic is the author and owner of all rights, title, and interest in the copyrights in Fortnite,

including without limitation, Fortnite’s underlying computer software and the audio visual works

created by the software. (Id. at ¶ 21.) Epic’s copyrights in various versions of Fortnite’s

computer code are the subjects of U.S. Copyright Registration Nos. TXu01-895-864 (dated

December 18, 2013), TX008-186-254 (dated July 14, 2015), TX008-254-659 (dated March 3,

2016), and TX008-352-178 (dated December 23, 2016). (Id. at Exh. A, [D.E. 1-1].) These

registrations are valid and subsisting and are enforceable in the United States and Canada

pursuant to Articles 2 and 3 of the Berne Convention. (See id. at ¶¶ 22-24, id. at Exh. B, [D.E. 1-

2].) Further, to protect the copyrighted computer code comprising Fortnite, Epic put in place

certain technological measures to effectively control access to the code. (Id. at ¶ 68.)

       B.      Epic’s Terms of Service and End-User Licensing Agreement

       To use Epic’s services, such as playing Fortnite on PC—which is the platform B.B. used

to play (and cheat at) Fortnite—a user must create an account with Epic. (Id. at ¶ 25.) In so

doing, a user affirmatively acknowledges that he or she has “read and agree[d] to the Terms of

Service” (“Terms”). (Id., at Exh. C [D.E. 1-3].) Because B.B. has been using Epic’s services, he

necessarily agreed to abide by the Terms. (Id. at ¶¶ 26-30, 37.) B.B. was banned at least once

from using Epic’s services for cheating, and, on information and belief, circumvented the ban by




                                        2
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 2 of 23
creating numerous other accounts under false names in order to cheat in Fortnite. (Id. at ¶¶ 6,

67.)

       The Terms include an “Intellectually Property Rights” section which sets forth the

permissions users have with respect to Epic’s intellectual property and activities that are

prohibited. (Id. at ¶¶ 33-35.) The prohibited activities are set out in Paragraph 35 of the

Complaint and include a prohibition against “copy[ing], modify[ing], creat[ing] derivative works

of, publicly display[ing], publicly perform[ing,], republish[ing], or transmit[ting] any of the

material obtained through [Epic’s s]ervices.” (Id. at ¶ 35.) The Terms also include a prohibition

against using Epic’s services for unlawful purposes. (Id. at ¶ 36.) Further, the Terms include a

forum selection clause identifying federal courts in this District as the location for a lawsuit

related to Fortnite. (Id. at ¶¶ 31-32.)

       In order to play Fortnite on PC, a user must also acknowledge that he or she has read and

agreed to abide by the terms in the Fortnite End-User License Agreement for PC (the “EULA”).

(Id. at ¶ 40, id. at Exh. D, [D.E. 1-4].) Thus, because B.B. played Fortnite, he necessarily agreed

to abide by the EULA. (Id. at ¶¶ 40-52.) Like the Terms, the EULA includes a section setting

out prohibited activities. These prohibited activities include using Fortnite “commercially or for

a promotional purpose;” copying, reproducing, distributing, displaying, or using Fortnite in a

way that is not expressly authorized; reverse engineering, deriving source code from, modifying,

adapting, translating, decompiling, or disassembling Fortnite, or making derivative works based

on Fortnite; removing, disabling, circumventing, or modifying any proprietary notice of label or

security technology included in Fortnite, or creating, developing, distributing, or using any

unauthorized software programs to gain advantage in any online or other game modes. (Id. at ¶




                                        3
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 3 of 23
47.) Further, like the Terms, the EULA includes a forum selection clause identifying federal

courts in this District as the proper forum for a lawsuit related to Fortnite. (Id. at ¶ 44.)

          C.     B.B’s Infringing Activities

          B.B. used cheat software (“cheats”) while playing Fortnite to unlawfully modify

Fortnite’s software so that he had an unfair competitive advantage over other players. (Id. at ¶¶

53-64.) The cheat software works by injecting unauthorized code into Fortnite’s copyrighted

code, modifying and altering the copyrighted code, and creating an unauthorized derivative work

of Epic’s copyrighted Fortnite game, which infringes Epic’s copyrights in the game. (Id. at ¶¶

63-65.)

          Defendant was, at all times relevant to the Complaint, a moderator and member of the

support staff of AddictedCheats.net, a cheat provider website (the “cheat provider”) that supplied

its registered users with cheats in exchange for money. (Id. at ¶ 58.) Defendant frequently

promoted the cheats on the cheat provider’s discussion channel and assisted the cheat provider’s

subscribers in enabling the cheats to run on Fortnite. (Id. at ¶ 59.) Further, Defendant stated that

his goal was to use the cheats to create unwanted chaos and disorder in Fortnite, characterized

Fortnite as the cheat provider’s “highest priority,” and even bragged that he is working on his

own cheat to use in Fortnite. (Id. at ¶¶ 60-61.)

          Moreover, in order to achieve his explicit goal of adversely impacting as many people as

possible while playing and cheating at Fortnite, Defendant specifically targeted streamers. (Id. at

¶¶ 62-63.) He declared that it was his objective to prevent streamers from winning the game and

boasted in online cheating discussion channels that his goal was “stream snip[ing],” i.e., killing

streamers as they streamed. (Id.) Defendant has said that making streamers hate Fortnite

describes Defendant’s persona “in a nutshell.” (Id.)




                                         4
          Case
PPAB 4227186v3    5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 4 of 23
       Epic, having learned of the efforts by Defendant and others to cheat by altering Fortnite’s

copyrighted code, put in place certain technological security measures to control and restrict

access to Fortnite’s copyrighted code. (Id. at ¶¶ 68; Second Decl. of Thomas at ¶¶ 6-7.) In

response, Defendant actively modified his cheat to specifically engineer it to circumvent these

technological measures. (D.E. 1 at ¶¶ 68-69.) Defendant also instructed cheat provider

subscribers to do the same. (Id.) Defendant’s modification has no commercially significant

purpose or use other than to circumvent Epic’s technological measures. (Id. at ¶ 70.) After

circumventing Epic’s technological measures, Defendant posted his circumvention method to the

cheat provider’s discussion channel so that other cheaters could use it and bragged: “Now my

method is exposed[.]” (Id. at ¶ 71.)

       D.      Epic’s Service of the Complaint and B.B.’s Post-Filing Activity

       Epic first attempted to serve Defendant via a Canadian process server on October 11,

2017, the same day that the Court issued the Summons in this case. (D.E. 7 at ¶ 7; see also id. at

Exhs. A-B [D.E. 7-1, 7-2].) The first Canadian process server Epic engaged was unable to locate

Defendant, so Epic engaged a second Canadian process server and investigator to attempt to

locate Defendant. (Id.) That person was also unable to locate Defendant. (Id.) Epic then

engaged a third Canadian investigator and process server, who did locate and serve Defendant

and Defendant’s mother in compliance with Fed. R. Civ. P. 4(f)(1) and Articles 10(b) and (c) of

the Hague Convention. (Id.) Because Defendant’s age was uncertain, Epic instructed the third

Canadian process server to serve Defendant as a minor in compliance with Fed. R. Civ. P. 4(g)

and Ontario R. Civ. P. 16.02(1)(j). Upon successful service of Defendant and Defendant’s

mother, Epic learned that Defendant is likely a minor. (D.E. 8 at ¶¶ 4, 5, Exh. 1.) Given the

Defendant’s probable minor status, Epic used the third Canadian process server to personally




                                        5
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 5 of 23
serve the Declaration of Service, the Motion for Entry of Default, the Status Report Regarding

Service of Process, and the various other papers from the docket of this case on both Defendant

and Defendant’s mother. (D.E. 14-15.)

       Having not received a responsive pleading to the Complaint, Epic moved for entry of

default on March 6, 2018. (D.E. 12.) On April 20, 2018, the Court granted Epic’s Motion for

Entry of Default after B.B. failed to respond to Epic’s Motion. (D.E. 17.) To date, neither B.B.

nor Ms. Broom have made an appearance in this case or contacted counsel for Epic. On May 23,

2018, the Court directed Epic to “proceed in accordance with Rule 55(b) of the Federal Rules of

Civil Procedure to reduce this matter to judgment.” (D.E. 18.)

II.    LAW AND ARGUMENT

       Once default has been entered under Rule 55(a) of the Federal Rules of Civil Procedure,

Rule 55(b)(2) authorizes the court to enter default judgment against a properly served defendant

who fails to file a timely responsive pleading. Fed. R. Civ. P. 55(b)(2). Where the defendant is a

minor, a court may enter default judgment “only if [the minor] is represented by a general

guardian, conservator, or other like fiduciary who has appeared.” Id.

       Upon default, the well-pleaded facts alleged in the complaint, as to liability, are deemed

admitted. Ryan v. Homecomings Fin. Network, 253 F.3d 778, 780 (4th Cir. 2001). However, “a

default is not treated as an absolute confession by the defendant of his liability and of the

plaintiff’s right to recover.” Id. (internal citations omitted). A court must “determine whether

the well-pleaded allegations in the plaintiff’s complaint support the relief sought in the action.”

DIRECTV, Inc. v. Pernites, 200 F. App'x 257, 258 (4th Cir. 2006) (internal citations and

quotations omitted). That a defendant defaulted “does not in itself warrant the court in entering a




                                        6
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 6 of 23
default judgment. There must be a sufficient basis in the pleadings for the judgment entered.”

Id. Such a basis exists here.

       A.      The Procedural Requirements of Entry of Default Judgment Have Been Met

       The Court has subject matter jurisdiction over all the claims in the action.

       The Court has subject matter jurisdiction over Epic’s federal claims arising under the

Copyright Act under 28 U.S.C. §§ 1331 and 1338(a). (D.E. 1 at ¶ 7); see Sweepmasters Prof’l

Chimney Servs., LLC v. Vanessa Servs., No. 1:16CV439, 2017 WL 3927626, at *2 (E.D. Va.

July 5, 2017), report and recommendation adopted, No. 1:16-CV-439, 2017 WL 3927602 (E.D.

Va. Sept. 7, 2017) (holding that the court had subject matter jurisdiction over the plaintiff’s

claims arising under the Copyright Act “because the dispute arises under the Copyright Act, as

amended, 17 U.S.C. §§ 101 et seq.”). This Court also has subject matter jurisdiction over Epic’s

state law claims under 28 U.S.C. § 1367 because these claims are so related to federal claims in

the action, over which this Court has such original jurisdiction, that they form part of the same

case or controversy. (D.E. 1 at ¶ 7); see Sweepmasters Prof’l Chimney Servs., LLC, 2017 WL

3927626, at *2 (holding that the court had subject matter jurisdiction over the plaintiff’s claims

arising under state law “as plaintiff’s claims are so relate to the claims within the Court’s original

jurisdiction that it is part of the same case or controversy”).

       Venue is proper in this Court under 28 U.S.C. §§ 1391(b) and 1400(a) because this is a

district in which a substantial part of the events giving rise to Epic’s claims occurred, in which

B.B. committed acts of copyright infringement, and/or where Epic’s injuries were suffered.

(D.E. 1 at ¶ 9); see Sweepmasters Prof’l Chimney Servs., LLC, 2017 WL 3927626, at *2 (holding

that venue was proper because “a substantial part of the alleged acts of infringement occurred in

this District.”). Further, B.B. may be sued in any judicial district under 28 U.S.C. § 1391(c)(3)




                                        7
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 7 of 23
because B.B. is not a resident of the United States. (D.E. 1 at ¶ 9); see 3M Co. v. Christian

Investments LLC, No. 1:11CV0627 TSE/JFA, 2012 WL 5531343, at *5 (E.D. Va. Aug. 2, 2012),

report and recommendation adopted sub nom., 3M Co. v. Directi Internet Sols. Pvt. Ltd., No.

1:11CV627, 2012 WL 5527154 (E.D. Va. Nov. 13, 2012) (holding that venue was proper in any

judicial district, including the one in which plaintiff sued, because defendant was not a resident

of the United States).

        Moreover, this Court also may properly exercise personal jurisdiction over B.B. because,

by agreeing to Epic’s Terms and EULA, B.B. agreed to be subject to the exercise of jurisdiction

over him by the courts in this District. (D.E. 1 at ¶ 8); see Automattic Inc. v. Steiner, 82 F. Supp.

3d 1011, 1022 (N.D. Cal. 2015) (holding that “Defendant’s conduct of accepting the terms of

service is sufficient to constitute consent to personal jurisdiction in California”). B.B. also

purposefully availed himself of the privileges of conducting activities and doing business in this

District thereby invoking the benefits and protections of this State’s laws, by entering into

contractual agreements with Epic in this State, and repeatedly accessing Epic’s servers, which

are located in this District. (D.E. 1 at ¶ 8.)

        B.B. neither appeared nor responded to the Complaint, (D.E. 10), nor has he made any

attempt to contact Epic or counsel for Epic. Additionally, despite proper service, B.B. has failed

to respond to the Motion for Entry of Default filed by Epic. (D.E. 12.) Indeed, as recited above,

Epic has taken significant efforts to locate and serve B.B. and has expended significant resources

doing so. Epic engaged three different process servers to properly effect personal service upon

Defendant and his mother.

        As is reflected in Epic’s Declaration of Service and its Amended Certificates of Service,

Epic was careful to ensure that the applicable rules were followed in every instance of service.




                                         8
          Case
PPAB 4227186v3    5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 8 of 23
(D.E. 8, 14, 15.) B.B. and his mother were properly served under Articles 10(b) and (c) of the

Hague Convention, to which Canada is a signatory, and Ontario R. Civ. P. 16.02(1)(j). (See

Hague Convention art. 10(b) & (c), Nov. 15, 1965, 20 U.S.T. 361.) Articles 10(b) and (c) permit

service within a contracting state “through . . . competent persons of the State of destination.” Id.

The courts in Ontario have interpreted this to mean that service may be properly effected

“through the normal procedures for service permitted within the contracting state.” Pitman v.

Mol, 2014 ONSC 2551, at para. 54. Under the Ontario Rules of Civil Procedure, a minor is to be

served by “leaving a copy of the document . . . with the minor . . . where the minor resides with a

parent . . . [and] by leaving another copy of the document with the parent . . ..” Ontario R. Civ.

P. 16.02(1)(j). Plaintiffs met these requirements. (See D.E. 9 at ¶¶ 5-7.)

       The requirement set out in Federal Rule of Civil Procedure 55(b)(2) that “default

judgment may be entered against a minor only if represented by a general guardian . . . who has

appeared” will be met upon the Court’s selection of a guardian ad litem for B.B., as requested by

Epic’s Motion for Appointment of Guardian ad Litem for B.B. filed contemporaneously

herewith. See Fed. R. Civ. P. 55(b)(2).

       Given B.B.’s failure to address Plaintiff’s allegations of: (i) copyright infringement in

violation of the Copyright Act, 17 U.S.C. §§ 106 and 501, et seq.; (ii) contributory copyright

infringement in violation of the Copyright Act, §§ 106 and 501, et seq.; (iii) circumvention of in

technological measures in violation of the Digital Millennium Copyright Act, 17 U.S.C. §§ 1201,

et seq.; (iv) breach of contract in violation of North Carolina law; and (v) intentional interference

with contractual relations in violation of North Carolina law, Epic respectfully requests that this

Court enter default judgment against B.B. and award to Epic a permanent injunction as set forth

in the Complaint. (D.E. 1.)




                                        9
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 9 of 23
       B.      Epic’s Well-Pleaded Complaint Pleads Each Element of Direct Copyright
               Infringement in Violation of the Copyright Act, 17 U.S.C. §§ 106 And 501, et
               seq.

       The essential elements of a claim for direct copyright infringement under the Copyright

Act are:

               (1) the asserted work is an original work of authorship and
               copyrightable subject matter;
               (2) the plaintiff owns or has exclusive rights to all right, title, and
               interest in the work;
               (3) the defendant’s actions infringe plaintiff’s copyrights in the
               asserted work by copying, reproducing, preparing derivative works
               from, and/or displaying the asserted work publicly without
               plaintiff’s permission; and
               (4) the defendant’s copies, reproductions, derivative works, and
               displays are identical and/or substantially similar to plaintiff’s.

See Nelson-Salabes, Inc. v. Morningside Dev., LLC, 284 F.3d 505, 513 (4th Cir. 2002).

       Each one of these elements is established in Plaintiffs’ well-pleaded Complaint. The first

two elements of the claim are satisfied by Epic’s allegations that it owns the copyrights in

Fortnite’s computer code. (D.E. 1 at ¶¶ 22-23, 73-74; id. at Exh. A [D.E. 1-1]) (showing Epic’s

U.S. copyright registrations in the Fortnite code); see Nelson-Salabes, Inc., 284 F.3d at 513

(holding that proof of plaintiff’s copyright registration certificates are sufficient to meet the first

two elements of the test).

       Epic established the third element by alleging that B.B. prepared derivative works of

Fortnite without Epic’s authorization. (D.E. 1 at ¶¶ 65, 74-78.) As stated in the Complaint:

               the cheat software used by Defendant (and those whom Defendant
               induces to use such software) improperly injects unauthorized code
               into the active memory of the game as it runs. . . . This
               unauthorized modification of the game’s code as it runs on the
               cheater’s computer and of the code that is sent back to Epic’s
               servers materially changes both the game’s code and the audio
               visual aspects of the game generated by the code. These
               changes create a different version of the Fortnite game than the




                                        10
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 10 of 23
                  Fortnite game that is generated by Epic’s copyright protected
                  software.

(D.E. 1 at ¶¶ 64-65; see also id. at ¶¶ 4, 76) (emphasis added). See also 17 U.S.C. § 106(2)

(listing the right “to prepare derivative works based upon the copyrighted work” as one of the

copyright holder’s exclusive rights); 17 U.S.C. § 101 (defining “derivative work” as “a work

based upon one or more preexisting works . . . [in any] form in which a work may be recast,

transformed, or adapted.”) Accordingly, Epic has alleged that B.B.’s use of the cheat software

creates unauthorized derivative works based on Fortnite in violation of the Copyright Act. (D.E.

1 at ¶¶ 72-83.)

        Epic has also alleged that the unauthorized derivative work prepared by B.B. is

substantially similar to Fortnite. (Id. at ¶¶ 63-64, 75-77.) As described in the Complaint, B.B.’s

cheating creates an unauthorized version of Fortnite in which the copyright-protected code is

modified by other code injected by B.B., which materially alters the game’s code and the audio

visual work the code creates and arms cheaters with valuable skills that other players, who are

not cheating, do not have. (Id. at ¶¶ 55, 64.)

        Epic also alleged that B.B. had access to Fortnite and that B.B. used Epic’s services,

including Fortnite. (Id. at ¶¶ 6, 75) (alleging, inter alia, that B.B. has been banned from playing

Fortnite.) Accordingly, because Epic’s Complaint has established all of the elements of a claim

for direct copyright infringement, and because these allegations are deemed admitted upon

B.B.’s default, Epic’s Motion should be granted. (Id. at ¶¶ 72-83); see also Joe Hand

Promotions, Inc. v. Blackburn, No. 7:11-CV-276-BO, 2013 WL 4068165, at *1 (E.D.N.C. Aug.

12, 2013) (“In granting default judgment, well-pleaded factual allegations are sufficient to

establish a defendant’s liability.”).




                                         11
          Case
PPAB 4227186v3    5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 11 of 23
       C.      Epic’s Well-Pleaded Complaint Pleads Each Element of Contributory
               Copyright Infringement in Violation Of The Copyright Act, 17 U.S.C. §§ 106
               And 501, et seq.

       The essential elements of a claim for contributory copyright infringement are that the

defendant (1) has knowledge of a third party’s infringing activity; and (2) induces, causes, or

materially contributes to the infringing conduct. See Thomson v. HMC Grp., No.

CV1303273DMGVBKX, 2014 WL 12589313, at *5 (C.D. Cal. July 25, 2014).

       Epic’s well-pleaded Complaint establishes the first element by alleging that B.B. had

constructive and actual knowledge that other cheaters were engaging in the same infringing

activity as B.B. (D.E. 1 at ¶¶ 89-90.) In establishing the second element, Epic alleged that B.B.

is a moderator and support person for a cheat provider website and that he “materially

contributes to the direct infringement of Epic’s copyrights by other cheaters by touting the cheats

in posts on online forums and/or discussion channels, actively encouraging and inducing other[s]

. . . to purchase the cheats, and supporting their use of the cheats on Fortnite.” (Id. at ¶¶ 86-88;

see also id. at ¶¶ 58-63.) Further, Epic alleged that, upon learning that Epic had put in place

technological security measures that were blocking the function of his Fortnite cheat, B.B.

modified the cheat and instructed others as to how to modify the cheat via the cheat provider.

(Id. at ¶¶ 68-69; 103.) Epic also alleged that, on information and belief, B.B. “obtains some

financial benefit or value in consideration for his work on the cheat provider website.” (Id. at ¶

91.)

       The Complaint also alleges that B.B.’s activities directly infringed Epic’s copyrights.

(See, supra, Section III(B)) (citing D.E. 1 at ¶¶ 72-83.)         Because Epic’s Complaint has

established all of the elements of a claim for contributory copyright infringement, and because




                                        12
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 12 of 23
these allegations are deemed admitted upon B.B.’s default, Epic’s Motion should be granted. (Id.

at ¶¶ 84-98); see also Joe Hand Promotions, supra.

       D.      Epic’s Well Pleaded Complaint Pleads Each Element of Circumvention of
               Technological Measures in Violation of the Digital Millennium Copyright
               Act

       The essential elements of a claim for circumvention of technological measures in

violation of the Digital Millennium Copyright Act, 17 U.S.C. § 1201(a)(1) (“DMCA”) are:

               (1) the asserted work is an original work of authorship and copyrightable
               subject matter;
               (2) the plaintiff owns or has exclusive rights to all right, title, and interest
               in the work;
               (3) the plaintiff has put in place a technological measure that effectively
               controls access to the asserted work in order to protect the exclusive rights
               of the plaintiff;
               (4) the defendant’s service comprises or contains technologies, products,
               services, devices, components, or parts thereof that are primarily designed
               or produced for the purpose of circumventing a technological measure that
               effectively controls access to the asserted work; and
               (5) the defendant’s service has no commercially significant purpose or use
               other than to circumvent a technological measure that effectively controls
               access to the asserted work.

See JCW Software, LLC v. Embroidme.com, Inc., No. 10-80472-CIV, 2012 WL 13015051, at *8

(S.D. Fla. May 29, 2012); see also MDY Indus., LLC v. Blizzard Entm't, Inc., 629 F.3d 928, 946

(9th Cir. 2010), as amended on denial of reh’g (Feb. 17, 2011), opinion amended and superseded

on denial of reh’g, No. 09-15932, 2011 WL 538748 (9th Cir. Feb. 17, 2011). Under the DMCA,

“a technological measure ‘effectively controls access to a work’ if the measure, in the ordinary

course of its operation, requires the application of information, or a process or a treatment, with

the authority of the copyright owner, to gain access to the work.” 17 U.S.C. § 1201(a)(3)(A); see

JCW Software, LLC., 2012 WL 13015051, at *8-*9. Further, the DMCA provides that to

“‘circumvent a technological measure’ means to descramble a scrambled work, to decrypt an

encrypted work, or otherwise to avoid, bypass, remove, deactivate, or impair a technological



                                        13
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 13 of 23
measure, without the authority of the copyright owner.” 17 U.S.C. § 1201(a)(3)(B); see also

JCW Software, LLC, 2012 WL 13015051, at *8-*9.

       Epic has established the first two elements of the claim by alleging that it owns the

copyrights in Fortnite’s computer code. (D.E. 1 at ¶¶ 22-23, 73-74, 100; id. at Exh. A [D.E. 1-1])

(showing Epic’s U.S. copyright registrations in the Fortnite code); see Nelson-Salabes, Inc., 284

F.3d at 513 (holding that proof of plaintiff’s copyright registration certificates are sufficient to

meet the first two elements of the test). Epic has also established the third element of its claim

by alleging that it “designed technological security measures to prevent and control unauthorized

access to Fortnite” and that these technological security measures have been “implemented . . . to

protect [Epic’s] copyrighted works.” (D.E. 1 at ¶¶ 68, 101; see also Second Decl. of Thomas at

¶¶ 6-8) (stating that the technological security measures put in place by Epic require “the

application of information, or a process or a treatment, with the authority of Epic, to gain access

to Fortnite.”). Epic put these technological security measures in place in order to protect its

copyrighted work from the efforts of cheaters, like B.B., who cheat in Fortnite. (D.E. 1 at ¶ 68.)

       As to the fourth element of the claim, Epic alleged that, once it had put the

aforementioned technological security measures in place in order to protect Fortnite and prevent

B.B. and others from cheating, B.B. modified his cheat with the primary and specific aim of

circumventing Epic’s modifications. (Id. at ¶¶ 69, 102, 104-105.)

       Epic’s well-pleaded Complaint further alleged that B.B.’s cheat “contains technologies,

products, services, devices, components, or parts . . . primarily designed” to circumvent the

technological security measures Epic put in place to protect Fortnite given that B.B.’s

modification to his cheat enabled the cheat to bypass Epic’s technological security measures and

enabled B.B. to continue to cheat at Fortnite. (Id. at ¶¶ 69, 102, 104-105; see also Second Decl.




                                        14
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 14 of 23
of Thomas at ¶¶ 6-8 (stating that B.B.’s cheat modification circumvented Epic’s technological

security measures as it “avoided, bypassed, removed, deactivated, or impaired a technological

measure, without Epic’s authority”).

         The facts alleged in the Complaint indicate that B.B.’s modification to his cheat was

made primarily to circumvent Epic’s technological security measures protecting Fortnite. As

alleged in the Complaint, B.B. stated that his goal was to use the cheats to wreak havoc in

Fortnite and destroy the enjoyment of streamers, and those who watch them, in Fortnite. (D.E. 1

at ¶¶ 60, 62, 69.) This goal could only be accomplished upon successful modification of the

cheat.   Id. B.B. confirmed that his primary goal in modifying his cheat, and posting the

instructions so that others could modify it, was to circumvent Epic’s technological security

measures. (Id. at 69, 71.) Further, as a moderator and support staff member of the cheat

provider, which, on information and belief, provided B.B. with monetary compensation or other

value, B.B. had a financial interest in posting usable cheats for popular video games such as

Fortnite. (See id. at ¶¶ 58-59, 69.)

         Epic has satisfied the fifth element of the claim because it has pleaded that B.B.’s cheats

have no commercially significant purpose or use other than to circumvent Epic’s technological

security measures in order to enable the cheat-user to unlawfully cheat in Fortnite. (Id. at ¶ 105.)

Accordingly, because Epic’s Complaint establishes all of the elements of a claim for

circumvention of technological measures in violation of the DMCA, and because these

allegations are deemed admitted upon B.B.’s default, Epic’s Motion should be granted. (Id. at ¶¶

99-111). See also Joe Hand Promotions, supra.




                                        15
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 15 of 23
        E.     Epic’s Well-Pleaded Complaint Establishes a Breach of Contract Claim

        Epic’s Complaint established a claim for breach of contract because it alleges (1) the

existence of a valid contract; and (2) subsequent breach of the contract’s terms. See Supplee v.

Miller-Motte Bus. Coll., Inc., 239 N.C. App. 208, 216, 768 S.E.2d 582, 590 (2015). Epic has

established the first element as it has alleged that valid, enforceable contracts exist between B.B.

and Epic under the Terms and the EULA because Defendant agreed to be bound by the terms of

each of those agreements by affirmative agreement, creating an account with Epic, and

repeatedly using, downloading, playing and/or accessing Fortnite. (D.E. 1 at ¶¶ 38, 51, 112-

119.)

        Epic also established the second element because it alleged that B.B.’s activities

including, inter alia, the creation of unauthorized derivative works based on Fortnite, using,

accessing or modifying Fortnite in a way not authorized by the Terms and the EULA, and

creating, distributing, and using unauthorized software programs to gain an advantage in

Fortnite, all of which constitute material breaches of the Terms and the EULA. (Id. at ¶¶ 5-6, 39,

52, 54-57, 58-65, 66, 67-71, 120) (alleging that B.B. “knowingly, intentionally, and materially

breached the Terms and the EULA” by engaging in the aforementioned activities). Accordingly,

because Epic’s Complaint has established all of the elements of a claim for breach of contract,

and because these allegations are deemed admitted upon B.B.’s default, Epic’s Motion should be

granted. (Id. at ¶¶ 112-121); see also Joe Hand Promotions, supra.

        F.     Epic’s Well-Pleaded Complaint Establishes a Claim of Intentional
               Interference With Contractual Relations

        The essential elements of a claim for intentional interference with contractual relations

are:




                                        16
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 16 of 23
                 (1) a valid contract between the plaintiff and a third person which confers
                 upon the plaintiff a contractual right against a third person;
                 (2) the defendant knows of the contract;
                 (3) the defendant, without justification, intentionally induces the third
                 person not to perform the contract; and
                 (4) resulting in actual damage to the plaintiff.

Red Arrow v. Pine Lake Preparatory, Inc. Bd. of Directors, 226 N.C. App. 431, 741 S.E.2d 511

(2013).

          Epic alleged that valid and enforceable contracts exist between Epic and users of its

services, including B.B. (D.E. 1 at ¶¶ 122-127.) Epic further alleged that B.B. knew the terms of

those agreements and knew that other users of Epic’s services are required to agree to abide by

the Terms and the EULA, because he entered into those same contracts. (Id. at ¶ 128.)

          The Terms and the EULA explicitly list activities from which users are prohibited from

engaging. Epic alleged that B.B.’s intentional, active, and willful encouragement and inducement

of users of Fortnite to purchase and use the cheats, with knowledge that this activity breaches

both the EULA and the Terms, constitutes intentional interference with contracts formed

between Epic and its users. (Id. at ¶¶ 58-61, 128-130.) Epic also alleged that B.B. engaged in

this misconduct without justification. (Id. at ¶ 131.) Finally, Epic alleged that B.B.’s intentional

inducement of others resulted in actual damage to Epic, e.g., that Epic suffered a loss of goodwill

among users of Epic’s services, decreased profits, and lost profits from users whose accounts

Epic terminated for violations of the Terms and the EULA. (Id. at ¶¶ 122-135.) In light of the

above, Epic’s Complaint pleads all the elements required in a claim for intentional interference

with contractual relations, and because these allegations are to be admitted, Epic’s Motion

should be granted. (Id. at ¶¶ 122-135); see also Joe Hand Promotions, supra.

          G.     Epic is Entitled to Permanent Injunctive Relief

          The Copyright Act provides that a court may “grant . . . final injunctions on such terms as



                                         17
          Case
PPAB 4227186v3    5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 17 of 23
it may deem reasonable to prevent or restrain infringement of a copyright.” 17 U.S.C. § 502(a).

The DMCA provides, using similar language, that a court may “grant . . . permanent injunctions

on such terms as it may deem reasonable to prevent or restrain a violation . . .” 17 U.S.C. §

1203(b). A permanent injunction “is appropriate where the nature of the infringement prevents

an adequate remedy at law, and . . . where a threat of continuing infringement exists.” Id. Courts

have the authority to grant injunctions in default judgment actions involving copyright infringement.

See, e.g., Arista Records LLC v. Gaines, 635 F. Supp. 2d 414, 417 (E.D.N.C. 2009) (granting

plaintiff's motion for default judgment and for permanent injunction in copyright infringement case);

Nexon Am. Inc. v. Kumar, No. 2:11-CV-06991-ODW, 2012 WL 1116328, at *7 (C.D. Cal. Apr. 3,

2012) (granting plaintiff’s motion for default judgment and for permanent injunction in a case

involving a violation of the DMCA.)

       Epic respectfully requests that this Court issue a permanent injunction enjoining B.B.

from continuing to infringe any of Epic’s copyrighted works and/or induce or materially

contribute to the direct infringement of Epic’s copyrighted works by others; from using any

technology, product, service, or device, part of which is primarily designed for the purpose of

circumventing a technological measure that effectively controls access to Epic’s copyright-

protected work, including, without limitation, Fortnite; from violating the Terms; from violating

the EULA; and/or from intentionally interfering with Epic’s contractual relations with other

parties to those agreements. Epic further requests that the Court order destruction of all

infringing videos and copies of cheats or hacks in Defendant’s possession, custody, or control

that can be used to infringe Epic’s copyrights in Fortnite so as to restrain Defendant’s continued

violations of Epic’s copyrights in Fortnite. Epic also requests that the Court’s order be

recognized as final and enforceable in all contracting countries to the Berne Convention,




                                        18
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 18 of 23
including the United States and Canada, under Articles 2 and 3 of the Berne Convention.

       In order to obtain a permanent injunction, Epic must prove that “(1) it suffered an

irreparable injury; (2) the remedies available at law, such as monetary damages, are inadequate

compensation for that injury; (3) considering the balance of hardships between the parties,

equitable relief is warranted; and (4) the public interests would not be disserved by a permanent

injunction.” Christopher Phelps & Assocs, LLC v. Galloway, 492 F3d 532, 543 (4th Cir. 2007)

(citing eBay, Inc. v. MercExchange, L.L.C., 547 U.S. 388, 126 S. Ct. 1837, 1840 (2006),

considering eBay factors in copyright infringement case and noting that irreparable injury often

occurs when owner of intellectual property is deprived of ownership rights). Here, all four of the

above-referenced factors weigh in favor of granting a permanent injunction.

           1. Epic Has Suffered and Will Continue To Suffer Irreparable Injury

       Epic, the owner of the copyrights in Fortnite, has experienced immense success with the

game, and has developed substantial and valuable goodwill in Fortnite (D.E. 1 at ¶¶ 13-18;

Second Decl. of Thomas at ¶ 3.) B.B.’s actions cannot be “undone, erased, or destroyed” and

represent an ongoing threat to the integrity of the game and its appeal to players and those who

watch people play Fortnite (i.e. streamers.), and, accordingly, “represent[] the very essence of

irreparability.” See Controversy Music v. Mason, No. 5:09-CV-488-BR, 2010 WL 2607229, at

*4 (E.D.N.C. June 24, 2010) (granting plaintiff’s motion for default judgment and permanent

injunction in connection with a copyright infringement suit where defendant engaged in

unauthorized public performance of plaintiff’s works). Moreover, the Fourth Circuit has held

that “[i]rreparable injury often derives from the nature of copyright violations, which deprive the

copyright holder of intangible exclusive rights.” Id. (citing Christopher Phelps & Assocs., LLC,

492 F.3d at 544). Further to this, B.B. has created and distributed a cheat that could be shared in




                                        19
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 19 of 23
perpetuity, causing Epic to continue to suffer irreparable harm. (D.E. 1 at ¶¶ 50-77.)

Accordingly, this favor weighs in favor of granting the permanent injunction.

           2. Monetary Damages are Inadequate to Compensate for Damage to Plaintiff’s
           Reputation

       Any monetary damages awarded to Epic would only compensate Epic for the infringing

and improper activity in which B.B. already engaged. No monetary damages would be awarded

for any future infringing and improper activity resulting from others’ continued use of the cheat

propagated by B.B. Accordingly, monetary damages would not compensate Epic. See UMG

Recordings, Inc. v. Blake, No. 506-CV-00120-BR, 2007 WL 1853956, at *3 (E.D.N.C. June 26,

2007) (granting plaintiff’s motion for permanent injunction and holding that monetary damages

would “only compensate for Defendant’s one-time infringement of each [music] recording, and

not for inevitable future transfers”); see also Nexon Am. Inc., 2012 WL 1116328, at *7 (granting

plaintiff’s request for permanent injunction for violation of the Copyright Act and the DMCA

and holding that monetary damages would be insufficient to “prevent or deter the adverse, long-

term effect” of Defendant’s actions).

       Furthermore, given that B.B.’s actions demonstrate that he intends to continue to infringe,

induce others to cheat, violate the DMCA, and breach the Terms and the EULA, a permanent

injunction is required as “a substantial amount of speculation and guesswork [would render] the

calculation of future damages and profits difficult or impossible.” Controversy Music, No. 5:09-

CV-488-BR, 2010 WL 2607229, at *4 (internal citations and quotations omitted). In light of the

above, this factor militates in favor of finding that this element has been satisfied.

           3. The Balance of Hardships Weighs In Favor of Injunctive Relief

       The balance of hardships unquestionably weighs in favor of granting the injunction. The

permanent injunction merely prevents B.B. from violating the law. It does not constitute a



                                        20
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 20 of 23
hardship at all.      Universal Furniture Int'l, Inc. v. Collezione Europa USA, Inc., No.

1:04CV00977, 2007 WL 4262725, at *3 (M.D.N.C. Nov. 30, 2007). The hardship clearly lies

with Epic as B.B. has propagated a cheat that could be shared in perpetuity and continue to cause

damage to Epic’s reputation, market share, and relationship with its current and future customers.

UMG Recordings, Inc., No. 506-CV-00120-BR, 2007 WL 1853956, at *3 (granting plaintiff’s

permanent injunction and holding that “a distinct hardship rests with Plaintiffs” given

defendant’s ability to “replicate [Plaintiffs’] recordings into infinity”); Nexon Am. Inc., 2012 WL

1116328, at *7 (granting plaintiff’s motion for a permanent injunction for violation of the

Copyright Act and the DMCA and holding that the injunction “imposes little-if any- hardship on

Defendants”). Accordingly, this factor weighs in favor of granting a permanent injunction.

            4. The Public Interest Will Be Served by Entry of Permanent Injunction

        Courts have held that “there is a substantial public interest in preserving a copyright

holder's exclusive rights.” Nexon Am. Inc., 2012 WL 1116328, at *7. Further, no public interest

will be served by not enjoining B.B. from continuing this activity. Controversy Music, No. 5:09-

CV-488-BR, 2010 WL 2607229, at *4. It is in the public interest to grant Epic’s injunction in

order to preserve the environment of fair play Epic strives to create for users. Accordingly, the

entry of a permanent injunction will serve the public interest.

III.    CONCLUSION

        For all of the foregoing reasons, Epic respectfully requests that its Motion for Default

Judgment be granted.




                                        21
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 21 of 23
      This the 13th day of June, 2018.


                                         /s/ Christopher M. Thomas
                                         Christopher M. Thomas
                                         N.C. State Bar No. 31834
                                         christhomas@parkerpoe.com
                                         Tasneem A. Dharamsi
                                         N.C. State Bar No. 47697
                                         tasneemdelphry@parkerpoe.com
                                         PARKER POE ADAMS & BERNSTEIN LLP
                                         150 Fayetteville Street, Suite 1400
                                         Post Office Box 389
                                         Raleigh, North Carolina 27602-0389
                                         Telephone: (919) 828-0564
                                         Facsimile: (919) 834-4564


                                         Attorneys for Plaintiffs
                                         Epic Games, Inc. and Epic
                                         Games International S.à.r.l.




                                        22
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 22 of 23
                                CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing MEMORANDUM IN SUPPORT OF

MOTION FOR DEFAULT JUDGMENT was electronically filed this day with the Clerk of

Court using the CM/ECF system and is available to B.B. c/o Christine Broom via PACER.

Copies will be served on both B.B. and Christine Broom as soon as we are properly able to serve

them, at which point undersigned counsel will file an amended certificate of service.


       This the 13th day of June, 2018.

                                             /s/ Christopher M. Thomas
                                             Christopher M. Thomas
                                             N.C. State Bar No. 31834
                                             christhomas@parkerpoe.com
                                             Tasneem A. Dharamsi
                                             N.C. State Bar No. 47697
                                             tasneemdelphry@parkerpoe.com
                                             PARKER POE ADAMS & BERNSTEIN LLP
                                             150 Fayetteville Street, Suite 1400
                                             Post Office Box 389
                                             Raleigh, North Carolina 27602-0389
                                             Telephone: (919) 828-0564
                                             Facsimile: (919) 834-4564




                                        23
          Case
PPAB 4227186v3   5:17-cv-00511-FL Document 22 Filed 06/13/18 Page 23 of 23
